  Case 1:23-cv-00108-LMB-JFA Document 1014-7 Filed 07/26/24 Page 1 of 40 PageID# 74495
  Message


  From:          Russ Freyman [rfreyman@google.com ]
  Sent:          8/3/20215:03:51 PM
  To:            Sean Harrison [seanharrison@google.com ]
  Subject:       Fwd: Weber con tract
  Attachments:   PEG_IPG_GMP2021_Signed_-2272021 (1).pdf; FESA_IPG_DoubleClick_AAA_February2015 12.01.24 PM.pdf




  ---------- Forwarded message ---------
  From: Jeff Cezo <jcezo@google.com>
  Date: Tue, Aug 3, 2021 at 12:35 PM
  Subject: Weber contract
  To: Russ Freyman <rfreyman@google.com>


  Hi Russ,

  Here are PDF versions of the 2021 contract. I've also attached the AAA ,:vhich lists Weber as an affiliate of
  IPG.

  Thanks,
  Jeff




                                                                      J~·lf Cezo
                                                                      1\ccount Executive, Fiatforrns
                                                                      icezo@google.com
                                                                      212-565-7493




  Russ Freyman
  Head of Industry, GMP
  Google
  M:
  rfreyman@google.com


  'This email may be confidential or privileged. If you received this communication by mistake, please don't forward it to
  anyone else, please erase all copies and attachments, and please let me know that it went to the wrong person. Thanks.'

  'The above terms reflect a potential business arrangement, are provided solely as a basis for further discussion , and are
  not intended to be and do not constitute a legally binding obligation. No legally binding obligations will be created, implied,
  or inferred until an agreement in final form is executed in writing by all parties involved.'




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                          GOOGLE MARKETING PLATFORM ORDER FORM -ADVERTISING SERVICES


            This Agreement consists of:
            Part 1: Cover Sheet
            Part 2: Signature Page
            Part 3: General Terms and Conditions
            Exhibit I: Platform Services Terms and Conditions
            Exhibit II: Service Specific Terms




                 Company Full Legal Name ("Company" or "Parent")          Kinesso, LLC
                                                                          100 W 33rd St.
                                                                          New York, NY 10001
                 Principal Place of Business/Registered Offi ce Address   United States


                 Effective Date                                           March 1, 2021
                 Initial Term                                             12 MONTHS
                                                                          Display & Video 360
                                                                          Search Ads 360
                                                                          Campaign Manager
                                                                                  RFP Module
                                                                                  Remarketing Service
                 GMP Advertising Services
                 Auto-Renewal                                             No


                 Default Billing Currency ("Default Billing Currency")
              Display & Video 360 service
                 Exchange Rate

                 Non-Exchange Rate
              Search Ads 360 Service
                 SA360 Monthly Service Fee Percentage
                 SA360 Minimum Service Fee Start Date                     NA
                 SA360 Minimum Service Fee Amount & Currency              NA
                 SA360 Minimum Service Fee Period                         NA

                                                                          Please see separate Pricing
             campaign Manager                                             Sheet for these services.




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                           GOOGLE MARKETING PLATFORM ORDER FORM -ADVERTISING SERVICES


                                                Campaign Manager Pricing Sheet

                 Campaign Manager Minimum Service Fee Start Date           March 1, 2021

                  Campaign Manager Minimum Service Fee Amount & Currency

                  Campaign Manager Minimum Service Fee Period               Yearly


             Campaign Manager Rates:
                 For Parent and AAA Affiliates incorporated in:                  United States
                 Currency:                                                       USO
                 Carnpaigo Maoagec Se[)ii!:ie
                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC

                                                                                 Any country not
                                                                                    expressly set
                 For AAA Affiliates incorporated in:                                out below.
                                                          ·-·-·-·-·-·-·-                         ·-·-·-·-·-
                 Currency:                                                       USO
                 Carnpaigo Maoagec Se[)iice
                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC
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                 For AAA Affiliates incorporated in:                             Argentina
                 Currency:                                                       ARS
                 Carnpaigo Maoagec Se[)ii!:ie
                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC

                 For AAA Affiliates incorporated in:                             Australia
                 Currency:                                                       AUD
                 Carnpaigo Maoagec Se[)iice
                 Display CPM
                 Video CPM




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                           GOOGLE MARKETING PLATFORM ORDER FORM -ADVERTISING SERVICES


                 Advanced Display Upcharge
                               ·-·-·-·-·-·-                                                    ·-·-·-·-·-·-
                 Display CPC
                               ·-·-·-·-·-·-                                                    ·-·-·-·-·-·-
                 For MA Affiliates incorporated in:                                                           Brazil
                 Currency:                                                                                    BRL
                 campaign Manager SeO£ice
                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC

                 For MA Affiliates incorporated in:                                                           Canada
                               ·-·-·-·-·-·- - - - - - - - - - - - -·-·-·-·-·-·- t - - - - - - - - - -
                 Currency:                                                                                    CAD
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                 Campaign Manager SeO£ice
                 Display CPM
                 Video CPM
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              Advanced Display Upcharge
            1 - - - - - - - - - - - - - - - -·-·-·-·-·-·-·- - - - - - - -                                       -----
                 Display CPC
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                 For MA Affiliates incorporated in:                                                           China
                 Currency:                                                                                    CNY
                 Campaign Manager secllice
                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC

                 For AAA Affiliates incorporated in:                                                          Egypt
                 Currency:                                                                                    EGP
                 Campaign Manager Service
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                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC

                                                                                                              Any countries in
                                                                                                                 European
                 For MA Affiliates incorporated in:                                                              economic zone




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                           GOOGLE MARKETING PLATFORM ORDER FORM -ADVERTISING SERVICES


                 Currency:                                                                                      EUR
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                 Campaigo Maoagec SeOlice
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                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                                   ·- • .• - • .•- • .• - ·                     ·- • .• - • .•- • .• - ·


                 Display CPC

                 For AAA Affiliates incorporated in:                                                            Hong Kong
                 Currency:                                                                                      HKD
                 Campaio □ Ma □ aoec SeOlice

                 Display CPM
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                 Video CPM
                 Advanced Display Upcharge
                 Display CPC

                 For AAA Affiliates incorporated in:                                                            Indonesia
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                 Currency:                                                                                      IDR
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                 Campaigo Maoagec SeOlice
                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC

                 For AAA Affiliates incorporated in:                                                            India
                 Currency:                                                                                      INR
                 Campaigo Maoagec SeOlice
                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC

                 For AAA Affiliates incorporated in:                                                            Israel
                 Currency:                                                                                      ILS
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                 Qampaigo Maoagec SeOlice
                 Display CPM
                 Video CPM
                 Advanced Display Upcharge




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                           GOOGLE MARKETING PLATFORM ORDER FORM -ADVERTISING SERVICES



                 Display CPC·- ·- ·- ·- ·- ·- - - - - - - - - - - - -·- ·- ·- ·- ·- ·-I                                    ____                ~
                 For AAA Affiliates incorporated in:                                                                 Ja pan
                 Currency:                                                                                           JPY
                 Qarnr:iaigo Maoagec SeClli!:;fl
                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC

                 For AAA Affiliates incorporated in:                                                                 South Korea
                 Currency:                                                                                           KRW
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                 Carnpaigo Maoagec SeCllice                   ·- • .• - • .•- • .• - • .•- • .• - ·                                    ·- • .• - • .•- • .• - ·




                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
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                 Display CPC
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                 For AAA Affiliates incorporated in:                                                                 Malaysia
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                 Currency:                                                                                           MYR
                 Carni;2aigo Maoag13c SflClliCfl
                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC

                 For AAA Affiliates incorporated in:                                                                 Mexico
                 Currency:                                                                                           MXN
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                 Carnpaigo Maoager Service
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                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC
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                 For AAA Affiliates incorporated in:                                                                 New Zealand
                 Currency:                                                                                           NZD
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                           GOOGLE MARKETING PLATFORM ORDER FORM - ADVERTISING SERVICES



                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC


                 For AAA Affiliates incorporated in:                                                            Nigeri a
                 Currency :                                                                                     NGN
                 Carnpaio □ Ma □ aoer SeD£ice

                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
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                 Display CPC


                 For AAA Affiliates incorporated in:                                                            Poland
                 Currency:                                                                                      PLN
                 Carnpaio □ Ma □ aoer Secllice
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                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC

                 For AAA Affiliates incorporated in:                                                            Russian
                 Currency:                                                                                      RUB
                 Carnpaigo Maoagec SeD£ice

                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC


                 For AAA Affiliates incorporated in:                                                            Singapore
                 Currency:                                                                                      SGD
                 CamQaigo Maoagec SeD£ic.e

                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC




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                           GOOGLE MARKETING PLATFORM ORDER FORM -ADVERTISING SERVICES


                 For AAA Affiliates incorporated in:                                                    South Africa
                             ·-·-·-·-·-·-                                    ·-·-·-·-·-·-
                 Currency:                                                                              ZAR
                             ·-·-·-·-·-·-                                    ·-·-·-·-·-·-
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                 Display CPM
                 Video CPM
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                 Advanced Display Upcharge
                 Display CPC
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                 For AAA Affiliates incorporated in:                                                    Switzerland
                 Currency:                                                                              CHF
                 Carnpaigo Maoagec SeO£ice
                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC

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                 For AAA Affiliates incorporated in:                                                    Taiwan
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                 Currency:                                                                              TWO
                 Camr:2aigo Maoagec SeO£ice
                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC

                 For AAA Affiliates incorporated in:                                                    Thai land
                 Currency:                                                                              THB
                 Carnpaioo Ma □ aoec Secllice
                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC

                 For AAA Affiliates incorporated in:                                                    Turkey
                                                            ·-·-·-·-·-·-·-                                             ·-·-·-·-·-
                 Currency:                                                                              TRY
                 Campaign Maoagec SeO£ice
                 Display CPM
                 Video CPM




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                           GOOGLE MARKETING PLATFORM ORDER FORM -ADVERTISING SERVICES


                 Advanced Display Upcharge
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                 Display CPC
                               ·-·-·-·-·-·-                   ·-·-·-·-·-·-
                 For MA Affiliates incorporated in:                          United Kingdom
                 Currency:                                                   GBP
                 Campaign Manager SeO£ice
                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC


                                                                             Philippines or
                 For MA Affiliates incorporated in:                               Vietnam
                 Currency:                                                   USD
                 Carnpaion Ma □ aoe[ SeO£ice
                 Display CPM
                 Video CPM
                 Advanced Display Upcharge
                 Display CPC




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                            GOOGLE MARKETING PLATFORM ORDER FORM -ADVERTISING SERVICES


                                                         Part 2: Signature Page


            AGREED AND ACCEPTED BY:


           Kinesso, LLC                                                GOOGLE LLC


            By:                                                         By:
                         OocuSigncd by:
                                                                                                               2021 .02.2:
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                                                                                                               21 :28:34
            Name: Tom Dawson                                            Name:
                                                                                                               -08'00'
            Title:                                                     Title:
                     cco

            Date:    27-Feb-2021                                        Date:




            GOOGLE ASIA PACIFIC PTE. LTD.:


            By:

        -               ,::;.)Mo
            Print Nar    Lavanya Swetharanyan
                                Director
                        Google Asia Pacific Pte. Ltd   +08'00'
            Title:




            Date:




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             GOOGLE IRELAND LTD.:


            By:



            Print Name:



        t----t\n,.Qdti
            Title:    !&~
                      For, Nick Leeder {Director)
                                                    21 •22•55
                                                       •  •
                                                              Z

            Date:




            GOOGLE JAPAN G.K.:


            By:



            Print Name:




            Title:




            Date:




             GOOGLE AUSTRALIA PTY. LTD.:


            By:




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                                          74506
                          GOOGLE MARKETING PLATFORM ORDER FORM -ADVERTISING SERVICES



            Print Name:


        ---~~--
              20_2~1._02~.8
            Title:           Authorized Signatory

                       Google Australia Pty Ltd     +08 '00'
            Date:




            GOOGLE NEW ZEALAND LIMITED:

            By:




            Print Name:
                                                    +08'00'
            Title:




            Date:




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                           GOOGLE MARKETING PLATFORM ORDER FORM - ADVERTISING SERVICES


                                               Part 3: General Terms and conditions
             1. Services. This Google Marketing Platform Order Form - Advertising Services (this "Order Form"), is
                by and between Company and Google (as defined below), and is effective as of the Effective Date.
                This Order Form governs Company's access to the services available under the Google Marketing
                Platform (as rebranded by Google from time to time) selected on the Cover Sheet (collectively, the
                services subject to this Order Form are the "Google Marketing Platform Advertising Services" or
                "Services"), and supersedes any prior Order Form or agreement between the parties for, and solely
                as it relates to, the relevant Google Marketing Platform Advertising Services.
             2. Definitions. The following terms are defined as:
                      a.      "AAA Affiliate" means an Affiliate of Company party to an Affiliate Adopting Agreement.
                      b.      "CPM" means cost per 1,000 impressions.
                      c.      "Google" means Google LLC.
                      d.       Company's "Monthly Service Fees" for a Service are the Service Fees payable with
                  respect to that Service in a certain month.
                      e.     "Quarter" means the three month period following a Minimum Service Fee Start Date,
                  and each three month period thereafter.
                     f.      "Year" means the twelve month period following a Minimum Service Fee Start Date, and
                  each twelve month period thereafter.
             3. Applicable Terms. This Order Form incorporates by reference and is subject to the general Google
                Platform Services Terms and Conditions attached hereto as Exhibit I and the Google Marketing
                Platform Advertising Service Specific Terms attached hereto as Exhibit II (collectively, the "Terms").
                This Order Form together with the Terms are referred to as the "Agreement." Company should read
                the Terms carefully before entering into this Order Form. Google may amend the Terms from time to
                time and Company will check the Terms regularly for updates. Unless otherwise noted, all terms
                defined in the Terms and used in this Order Form will have the meanings given to them in the Terms.
                This Order Form may be amended in writing or by Company's acceptance of additional terms in the
                user interface of the applicable Google Marketing Platform Advertising Service.
             4.   Term and Termination . The "Initial Term" of the Order Form is the period beginning on the Effective
                  Date and continuing for the Initial Term as set out on the Cover Sheet. If the field for "Auto-Renewal"
                  is marked ''Yes" on the Cover Sheet, this Order Form will automatically renew for additional 12 month
                  periods following the end of the Initial Term (each, a "Renewal Term") unless either party notifies the
                  other of its intent not to renew this Agreement at least 60 days prior to the end of the Initial Term or
                  then-current Renewal Term (the Initial Term and all Renewal Terms are, collectively, the "Term").


             5.   Minimum Service Fees. The conversion rate used to determine if any applicable Minimum Service
                  Fee is met will be the most recent spot rate resident in Google's financial systems at the time of the
                  transactions, unless otherwise agreed by the parties in writing. Following the applicable Minimum
                  Service Fee Start Date:
                       a.     For Yearly or Quarterly Minimum SeNjce Fees (any product): If, in a particular Year or
                  Quarter (as applicable), the sum of the Monthly Service Fees paid with respect to a particular Service
                  for Company (including Affiliate Customers) and all AAA Affiliates is less than the Minimum Service
                  Fee for such Service, Company will pay Google the difference between the Minimum Service Fee for
                  such Service and that sum (in addition to any Monthly Service Fees then payable for such Service).
                       b.     For Campaign Manager Minimum Service Fees: For purposes of clarification, in addition
                  to Company's Monthly Service Fee as described herein, impressions served on behalf of Company
                  by a publisher using Google's proprietary Publisher-Paid service constitute "Ad impressions served
                  hereunder by Standard Ad Serving" for purposes of determining whether the Campaign Manager
                  Min imum Service Fee, if any, has been met.
             6.   Billing Currencies. The following terms and conditions and Service Fees will apply based on
                  Company's usage of the Services. Company will be billed in the Default Billing Currency unless




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                           GOOGLE MARKETING PLATFORM ORDER FORM - ADVERTISING SERVICES


                  another currency is specified herein or otherwise approved by Google.
                      a.      Display & Video 360 and Search Ads 360. All Monthly Service Fees and costs for Display
                  & V ideo 360 and Search Ads 360 will be invoiced to Company and AAA Affiliates in the currencies
                  selected by Company (i) in the online interface of the Display & Video 360 Service; or (ii) through
                  Company's Google Marketing Platform account team for Search Ads 360, as applicable. If required,
                  currency conversion will be performed using the currency conversion rates utilised by the applicable
                  Service from time to time (as determined by Google).
                      b.       Campaign Manager. All Monthly Service Fees and costs for Campaign Manager will be
                  invoiced to Company and AAA Affiliates in the currencies and applicable rates specified on the
                  campaign Manager Pricing Sheet
             7.   Display & Video 360 Service Fees. Company's Monthly Service Fee for the Display & Video 360
                  Service is the sum of:




             8. Search Ads 360 Service Fees. Company's Monthly Service Fee for the Search Ads 360 Service is
                equal

             9.   Campaign Manager Service Fees. Company's Monthly Service Fee for the Campaign Manager
                  Service is the sum of:




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                                                                               CONFIDENTIAL




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                           GOOGLE MARKETING PLATFORM ORDER FORM - ADVERTISING SERVICES


                                                              EXHIBIT I
                                   GOOGLE PLATFORM SERVICES TERMS AND CONDITIONS
             These GOOGLE PLATFORM SERVICES TERMS AND CONDITIONS and any Service Specific Terms
             (the "Terms") govern , in conjunction with the terms and conditions of the applicable Order Form(s) and, if
             applicable, addendums (collectively with the Terms, the "Agreement") Company's use of the platform
             services ("Services") provided by Google LLC or the Google Affiliate stated in the applicable Order
             Form(s) and, if applicable, addendums ("Google"). Each Order Form that incorporates these Terms will
             be a separate Agreement. Any use of the term "including" in the Agreement will mean "including, but not
             limited to."
             1.     Definitions. The following capitalized terms will have the associated meanings for purposes of
             the Agreement. Any definitions included in these Terms or any related Order Form(s) will have the
             same meaning throughout the Agreement.
             1.1     "Ad(s)" means advertising content.
             1.2      "Affiliate" means, with respect to a party, an entity that directly or indirectly controls, is
             controlled by or is under common control with such party or which is licensed by one party in writing to
             use the brand(s) of that party for specific services and a specific period.
             1.3     "Beta Feature" means any Service feature that is identified by Google, including via the
             applicable Service user interface or via other communications to Company, as "Beta", "Alpha",
             "Experimental", "Limited Release" or "Pre-Release" or that is otherwise identified by Google as
             unsupported. For purposes of clarification, to the extent a Beta Feature replaces a production (i.e.,
             non-Beta) version of a feature, the Beta Feature will thereafter be treated as the production version of
             the feature and not as a Beta Feature.
             1.4     "Brand Features" means each party's trade names, trademarks, logos and other distinctive
             brand features.
             1.5   "Client" means an advertiser, network publisher or other third party, if any, on whose behalf
             Company utilizes a Service.
             1.6      "Company Content" means any content served to End Users through the Target Properties
             that is not provided by Google (including the content of all Ads served via the Services).
             1.7     "Company Partner" means, for Target Properties, the owner (if not Company) of those Target
             Properties.
             1.8       "Confidential Information" means information that one party (or an Affiliate) discloses to the
             other party under the Agreement, and that is marked as confidential or would normally be considered
             confidential information under the circumstances. It does not include information that is independently
             developed by the recipient w ithout reference to the discloser's confidential information, is lawfully
             given to the recipient by a third party without confidentiality obligations, or becomes public through no
             fault of the recipient.
             1.9     "Data" means data derived from Company's use of the Services.
             1.10    "Effective Date" has the meaning set forth in the Order Form.
             1.11    "End Users" means individual human end users of a Target Property.
             1.12     "Intellectual Property Rights" means all copyrights, moral rights, patent rights, trademarks,
             rights in or relating to Confidential Information and any other intellectual property or similar rights
             (registered or unregistered) throughout the world.
             1.13    "Order Form" means an order form, schedule or other agreement that is subject to these
             Terms and sets forth pricing and other terms with respect to a particular Service. All Order Forms
             incorporate and are governed by the terms and conditions contained herein.




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            1.14     "Policies" means the         (i) Google      Platforms Program Policies available at
            https://support.google.com/platformspolicy?hl=en; (ii) the Google Ad Manager Partner Guidelines
            available at https://support.google.com/admanager/answer/9059370 (if applicable); (iii) the EU user
            consent policy available at https://www.google.com/about/company/user-consent-policy.html; and (iv)
            any other policy and implementation guidelines identified in an applicable Order Form or provided by
            Google to Company (in each case, as modified from time to time).
            1.15    "Service Fees" mean the service, transaction, product and other fees set forth in the Order
            Form(s) or in an applicable user interface for a Service.
            1.16     "Service Specific Terms" means, for each Service, the additional terms and conditions that
            apply to such Service that are available at the link provided in the applicable Order Form for the
            Service.
            1.17   "Subcontractor" means a subcontractor, consultant, third-party service provider or agent
            engaged by either party (or a Client of such party) in connection with its use or provision of Services.
            1.18     "Tag" means code (e.g., HTML) or a web beacon (e.g., pixel tag, clear GIF) that requests the
            delivery of an Ad or tracks an Ad impression or click.
            1.19    "Target Properties" means properties on which an Ad is served via the Services (i.e., web
            sites, consent-based e-mail publications, approved software applications or other properties as
            approved by Google, which may include Search Engine Sites).
            2.       Changes to the Services or the Agreement. Google may modify URLs referenced in these
            Terms and the content within such URLs from time to time. Google may also modify URLs referenced in
            an Order Form and the content within such URLs from time to time. Any modifications to the URLs
            referred to in this Agreement will be available at the relevant URL (or a different URL that Google may
            provide from time to time). Changes to the content within URLs will not apply retroactively and will
            become effective 30 days after they are posted, except that changes to URL references will be effective
            immediately, unless otherwise specified by Google for Policies where in Google's reasonable opinion
            more immediate application of a change to Policies ("Policy Change") is required to 1) meet legal,
            regulatory, or industry standards/requirements; 2) maintain the integrity of Services or 3) address
            matters of public interest. Google will use commercially reasonable efforts to inform Company of
            immediate Policy Changes by alerting Company via the user interface, posting changes to the
            applicable change log relating to the Services, or by other suitable means (e.g. via email) where in
            Google's reasonable opinion, Company is impacted by such Policy Change.
            3.       The Parties' Obligations; Prohibited Acts.
            3.1      Google will:
                  a.      provide the applicable Services described in the Order Form(s) entered into by
            Company, and obtain all rights necessary to provide such Services under the Agreement;
                     b.      deliver Ads according to the trafficking criteria selected by Company;
                    c.       provide Company access to web-based training and support if and where available for
            any particular Service;
                    d.       use current industry-standard security measures in connection with its provision of
            Services;
                     e.      promptly notify Company of any breach of Google security resulting in unauthorized
            third party access to any Company account or the Data;
                     f.      provide the Services in compliance with all applicable privacy and export laws,
            rules, regulations and sanctions programs, including applicable Internet advertising industry
            guidelines (e.g., the self-regulatory principles/code of conduct of the Network Advertising Initiative,
            the Interactive Advertising Bureau and the Digital Advertising Alliance); and




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                    g.      upon Company's written request during the Term, for as long as Google elects to
            undergo an annual certification review for the applicable report, make available to Company a SOC
            1 Type 2 report, ISO 27001 certification, or similar report with comparable data (each a "Security
            Report") from a reputable, independent certified public accounting firm covering the key controls
            and validation mechanisms in place to meet the revenue reporting obligations under this Agreement.
            Company may request each type of Security Report no more than once per calendar year during the
            Term. Such Security Report will be considered Google's Confidential Information under this
            Agreement.
            3.2      Company will:
                     a.     use the Services in compliance with all applicable Policies (as such Policies may be
                     updated from time to time) and at all times the burden of proof in establishing such
                     compliance remains with Company;
                     b.      be solely responsible for all use of Services (including trafficking Ads, implementing
                     Tags, the acts and omissions of all Company Affiliates that have not entered into an Affiliate
                     Adopting Agreement directly with Google, and Clients);
                     c.      use commercially reasonable efforts to obtain all rights necessary for the parties to
                     use, and necessary to permit Company or Google, as the case may be, to use the Data
                     under the terms of the Agreement, including (if applicable) from Company Partners, Target
                     Property owners (if not Company), End Users and Clients;
                     d.        use the Services in compliance with all applicable privacy and export laws, rules,
                     regulations and sanctions programs, including applicable Internet advertising industry
                     guidelines (e.g., the self-regulatory principles/code of conduct of the Network Advertising
                     Initiative, the Interactive Advertising Bureau and the Digital Advertising Alliance) and
                     Company's applicable agreements with third parties; provided, however, that in the event of
                     a conflict between the Policies and the terms of this Agreement, the terms of this Agreement
                     will govern; and
                     e.       ensure that each of the Target Properties owned or controlled by Company
                     contains a privacy policy that discloses (i) the usage of third-party technology and (ii) the
                     data collection and usage resulting from the Services, provided that those privacy policies
                     need not expressly identify Google or any Service, unless otherwise required by law, rule or
                     regulation; and advise its Clients in writing that each of their web sites must comply with the
                     foregoing.
            3.3      Company Prohibited Acts. Company will not, and will not assist or knowingly permit any
            third party to:
                     a.       pass information to Google that Google could use or recognize as personally
            identifiable information;
                    b.      Misappropriate, misuse, or abuse any part of a Service or modify, disassemble,
            decompile, reverse engineer, copy, reproduce or create derivative works from or in respect to
            Services or any part of a Service;
                     c.      damage or tamper with any part of a Service;
                     d.      knowingly breach any Service security measure; or
                   e.      provide Google any Ad that (x) when viewed or clicked on by an End User's
            computer, causes such End User's computer to download any software application, or (y) is illegal.
            3.4      Google Prohibited Acts. Google will not, and will not assist or permit any third party to,
            collect personally identifiable information through Company's use of the Services. Google will use
            commercially reasonable efforts to provide up to date information to Company to help Company
            understand the data collection and usage resulting from use of the Services, including via publicly




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             posted materials, currently available at http://www.google.com/doubleclick/support.html and as
             modified from time to time .
             4.      Payments.
             4.1     Google Payments to Company. [INTENT IONALLY OMITTED]
             4.2     Company Payments to Google.
                       a.       For each applicable Service, Google will invoice (or send a statement of financial
             activity to) Company for Service Fees, if applicable, in the month following the calendar month in
             which the Service Fees are incurred, unless there is an unforeseen circumstance where billing may
             be delayed. Company will pay Google the Service Fees (other than any Service Fees disputed in
             good faith) and other invoiced amounts (if any) within 45 days of the invoice date ("Payment Due
             Date"), in the currency and at the exchange rate (if any) specified in the applicable Order Form and
             by check or electronic transfer to the account notified to it by Google or such other means expressly
             agreed to in writing by the parties. Unless otherwise expressly agreed , Service Fees payable under
             an Order Form are additional to Service Fees payable under other Order Forms. For purposes of
             clarification, if a Company Affiliate is subject to a valid Affiliate Adopting Agreement, Google will
             (upon request) invoice such Company Affiliate and not Company, provided that any mislabeling or
             misaddressing of an invoice made in good faith will not affect Company or a Company Affiliate's
             responsibil ity to pay fees owed to Google.
                     b.       sequential Liability
                                       Notwithstanding anything to the contrary that may be contained herein
                     regarding payment terms, Google agrees to (1) hold Company liable for payments of each
                     United States incorporated Client ("US Client") solely to the extent proceeds have been
                     received by Company for payment of the applicable Service Fees ("Sequential Liability");
                     provided , however, in the event that Company makes voluntary payments of any Service
                     Fees to Google before Company receives the corresponding payments from the applicable
                     US Client(s), Company (A) will bear the sole risk of non-payment from the applicable US
                     Client(s) with respect to such corresponding payments due from the applicable US Client(s);
                     and (B) may retain such corresponding payment that it subsequently receives from such US
                     Client(s); and (2) hold US Clients liable for US Clients' payments solely to the extent
                     proceeds have not been received by Company for payment of the applicable Service Fees.
                     Promptly at the request of Google from time to time, Company shall provide Google with (i)
                     signed credit applications or equivalent information with respect to Company so as to enable
                     Google to conduct a credit check on Compa ny, (ii) signed credit applications or equivalent
                     information in its possession from each US Client so as to enable Google to conduct a credit
                     check on each US Client (and in the event Company does not possess such information, it
                     will, at the request of Google, promptly seek such information), (iii) confirmation of whether a
                     US Client has paid Company in advance funds sufficient to make payments pursuant to the
                     Terms and (iv) for each US Client, confirmation that Company's payment terms with the US
                     Client require payment of all charges incurred in connection with the Program within 45 days
                     from the date of Google's invoice to Company (the "US Client Due Date").
                              ii.    Any Client payment term information provided by Company to Google shall
                     be deemed Confidential Information under this Agreement and such payment information
                     shall be used by Google solely for internal credit analysis. If Company would like to extend a
                     US Client's payment terms beyond the us Client Due Date ("Non-Standard Payment
                     Terms"). Company must make such a request to Google with 30 days' prior written notice
                     (which may be via e-mail) to a Google finance manager, someone more senior in finance at
                     Google or such other person as Google may designate from time to time (the "Google
                     Finance Contact"). Google will review the request and , in its sole discretion, may approve
                     the Non-Standard Payment Terms for the US Client. Non-Standard Payment Terms will only
                     apply to new orders and not existing orders.




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                              iii.     If Google in its sole discretion does not approve the Non-Standard Payment
                     Terms, or determines, at any time, to not extend or to cease extending credit and/or
                     Sequential Liability to a US Client (e.g., due to US Client's poor payment history, US Client
                     having invoices that have not been paid within 30 days after the US Client Due Date or the
                     occurrence of a material change in the financial condition of US Client) then (a) Google
                     may, in its sole discretion, (x) immediately upon notice to Company revoke credit or
                     Sequential Liability with respect to such US Client, if Google has determined that such US
                     Client does not have a high quality of creditworthiness; (y) terminate the Terms with respect
                     to such US Client; or (z) suspend any or all current orders for such US Client, in each case
                     pending receipt by Google from Company or such US Client of funds sufficient to make
                     payments under such orders for future Ads, (b) Company or US Client must pay Google, in
                     advance of running new orders, funds sufficient to make payments under such new orders
                     and (c) Company must promptly advise such US Client of Google's above decisions.
                     Company agrees to make best efforts to collect and clear payment from each US Client to
                     Google by the US Client Due Date. Where Company has not paid to Google charges
                     incurred in connection with the Program within 45 days of Google's invoice to Company,
                     Company will pay to Google proceeds that it thereafter receives for those charges within 10
                     days from receipt (if Google has not already been paid those charges). Company will use
                     commercially reasonable efforts to assist Google in the event Google attempts to collect
                     payment directly from a US Client Google will notify Company at least two business days in
                     advance if it intends in good faith to seek payment directly from Client. Company will make
                     available to Google upon request written confirmation of the relationship between Company
                     and a US Client.         This confirmation may include, for example, such US Client's
                     acknowledgement that Company is its agent and is authorized to act on its behalf in
                     connection with these Terms. Company will promptly (but in any event within 2 business
                     days) notify Google, through its primary account contact, if it has reason to believe, other
                     than through publicly-available information, that a US Client's credit is or may become
                     impaired or that the US Client will not pay for applicable Service Fees by the US Client Due
                     Date. If US Client becomes a debtor in a bankruptcy case under the United States
                     Bankruptcy Code or another insolvency proceeding, Company agrees to file a proof of claim
                     for the full amount due. Company also authorizes Google to file a proof of claim on behalf of
                     and in the name of Company, and Company agrees to cooperate with Google and provide
                     Google all information necessary to prepare such proof of claim.
                     c.     Where Company is liable for payment under the terms set out herein, Google may
            charge interest at a rate of 1.0% per month (or the highest rate permitted by law, if less) from the
            due date 15 days after the date payment is due until the date of actual payment on any Service
            Fees which are overdue (other than Service Fees disputed in good faith) . Company will pay
            reasonable expenses and attorneys' fees Google incurs in collecting late payments not disputed in
            good faith.
                     d.      The Service Fees are exclusive of taxes. Company will pay all taxes and other
            government charges related to or arising from use of the Services (except for taxes on Google's net
            income). When Google has the legal obligation to collect any applicable VAT, GST or similar
            consumption tax in respect of the Services, the appropriate amount shall be invoiced to and,
            provided Company receives an appropriate tax invoice from Google issued at the time the invoice
            for related Services is issued, paid by Company unless Company provides Google with a valid tax
            exemption certificate authorized by the appropriate taxing authority. If any amounts payable under
            this Agreement are or become subject to withholding taxes under applicable laws of any state,
            federal, provincial or foreign government within the Americas, Company shall be authorized to
            withhold such amounts as are required under applicable law, pay such taxes to the appropriate
            government authority, and remit the balance due to Google net of such taxes.
                    e.      If Company fails to pay Service Fees invoiced by Google (other than Service Fees
            disputed in good faith) within 10 days following the Payment Due Date, Google may suspend each
            applicable Service (for which the Service Fees are overdue) after 10 days' notice to Company;




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            provided, however, that (1) to the extent that Company assigns and maintains a unique or multiple
            unique "Advertiser ID(s)" to each Client within Company's applicable networks, Google will suspend
            each applicable Service solely with respect to the Client(s) for which payments are late. Google
            may, in its sole discretion, extend, revise or revoke credit at any time.
                      f.      If applicable, Company will not exceed its aggregate credit line as determined by
            Google in its sole discretion (and made available if requested) and Google will not be obligated to
            provide any Services in excess of such credit line. Google reserves the right to change or retract any
            credit line at any time in its sole discretion.


            5.      Intellectual Property. Except to the extent expressly stated otherwise in the Agreement,
            neither party will acquire any right, title or interest in any Intellectual Property Rights owned or licensed
            by the other party.
            6.       Brand Features. Google may use Company's Brand Features as necessary for Google to
            provide the Services (e.g., if Company makes its inventory available on a transparent basis via the
            Services, Google may display Company's Brand Features to advertisers). Other than the limited license
            set forth in the preceding sentence, Google will not use Company's Brand Features (including for
            marketing and promotional purposes) without Company's prior written approval.
            7.       Confidentiality. The receiving party will not disclose the Confidential Information of the
            disclosing party, except to Affiliates, employees, agents or professional advisors (and in the case of
            Company, Clients) of the receiving party who need to know it to provide, access, receive, or use the
            Services hereunder and who have agreed in writing (or in the case of professional advisors are
            otherwise bound) to keep it confidential. The receiving party will ensure that those people and entities
            use the Confidential Information of the disclosing party only to exercise rights and fulfill obligations
            under the Agreement, and that they keep it confidential. The receiving party may also disclose
            Confidential Information when required by law after giving reasonable notice to the disclosing party, if
            permitted by law. For purposes of clarification, Data and the terms and conditions of this Agreement are
            considered Confidential Information under the Agreement; provided, however, that Company may
            disclose such terms to its Affiliates and Clients to the extent necessary for their use and receipt of the
            Services contemplated hereby. A recipient shall be liable for any breach of this Section 7 by its
            Subcontractors. No party may make any public statement regarding the relationship contemplated by
            this APA to a third party without prior written consent of the other party.
            8.       Representations and Warranties. Each party represents and warrants that it has all
            necessary rights and authority to (i) enter into the Terms and each Order Form, and (ii) perform its
            obligations hereunder and thereunder. Company further represents and warrants that it has all
            necessary rights and authority to act on behalf of any Clients.
            9.      Disclaimers. Except as expressly provided for in the Agreement and to the maximum extent
            permitted by applicable law, NEITHER PARTY MAKES ANY WARRANTY OF ANY KIND, WHETHER
            IMPLIED, STATUTORY, OR OTHERWISE, AND EACH PARTY DISCLAIMS, WITHOUT LIMITATION,
            ALL WARRANTIES OF MERCHANTABILITY, FITNESS FOR A PARTICULAR USE, AND
            NONINFRINGEMENT (BUT THE FOREGOING WILL NOT LIMIT EITHER PARTY'S IP
            INFRINGEMENT INDEMNIFICATION OBLIGATIONS SET FORTH IN SECTION 11 OF THESE
            TERMS).
            10.       Beta Features.         Google will have no liability under the Agreement (including any
            indemnification obligations) arising out of or related to any use of Beta Features by Company, its
            Affiliates, or its or their Clients. Any use of Beta Features will be solely at Company's own risk and may
            be subject to additional requirements as specified by Google. Google is not obligated to provide support
            for Beta Features and Google may, at its sole discretion, cease providing Beta Features as part of any
            Services.
            11.      Indemnification.




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            11.1       Each party (the "Indemnifying Party") will defend and indemnify the other party and its
            officers, directors, employees and agents (each, an "Indemnified Party") from all third-party claims or
            liabilities in relation to a claim filed by an unaffiliated third party before a court or government tribunal
            (including reimbursement for reasonable outside attorneys' fees and disbursements) arising out of or
            related to the Indemnifying Party's (i) breach or alleged breach of the Agreement (including any Order
            Form) or (ii) infringement of a third party's U.S. patent, trademark, trade secret or copyright in
            connection with (x) with respect to Google, the software and other technology used by Google to
            provide the Services hereunder, and (y) with respect to Company, the creative, technology, data or
            other materials provided by Company to Google or otherwise provided and utilized by Company in
            connection with the Services hereunder (the indemnification obligation of each party described in this
            clause (ii), the "IP Infringement Obligation").
            11.2      In addition, Company will defend and indemnify Google and its Indemnified Parties from all
            third-party claims or liabilities (including reimbursement for reasonable outside attorneys' fees and
            disbursements) arising out of or related to Company Content, lndemnifiable Target Properties (except,
            with respect to the Display & Video 360 Service, those Target Properties on which Company's Ad is
            served via programmatic means and the identity of which Company does not know in advance of Ad
            serving), or Company's Brand Features. "lndemnifiable Target Properties," as used herein, means
            (a) any Target Property utilizing a Service that is owned or operated by Company (or which Company
            is managing on behalf of a third party), (b) the landing page of any Ads utilizing a Service, (c) any
            Target Property where an Ad utilizing a Service appears and Company has a contractual relationship
            with the third-party owner or operator of such Target Property, and (d) any Target Property where an
            Ad utilizing a Service appears only if Google does not have a direct contractual relationship with the
            provider of such Target Property (e.g., publisher, third-party exchange). For clarity, if Google has a
            direct contractual relationship with the provider of a Target Property where an Ad utilizing a Service
            appears, such Target Property is excluded from the definition of "lndemnifiable Target Property."
            11.3     Google's IP Infringement Obligation will not apply to claims to the extent arising from (i)
            Company's use of the Service in violation of the Agreement; or (ii) the combination, operation or use
            of the Service(s) with any product or service not provided or authorized in writing by Google.
            Company's IP Infringement Obligation will not apply to claims to the extent arising from Google's
            provision of the Service(s) in violation of the Agreement. Without affecting either party's termination
            rights and to the maximum extent permitted by law, Sections 11.1 and 11.2 of these Terms state the
            sole liability of the Indemnifying Party, and the sole remedy of the Indemnified Party, with respect to
            any third-party claim arising out of the Indemnifying Party's breach of the Agreement or intellectual
            property infringement.
            11.4     The Indemnified Party must (i) promptly notify the Indemnifying Party in writing of the
            third-party claims (except that failure of the Indemnified Party to promptly notify the Indemnifying Party
            will not relieve the Indemnifying Party of its indemnification obligations, except to the extent it has
            been damaged by the failure); (ii) reasonably cooperate with the Indemnifying Party in the defense of
            the matter and (iii) give the Indemnifying Party primary control of the defense of the matter and
            negotiations for its settlement. The Indemnified Party may at its expense join in the defense with
            counsel of its choice. Any settlement requiring the indemnified party to admit liability, pay money, or
            take (or refrain from taking) any action, will require the indemnified party's prior written consent, not to
            be unreasonably withheld, conditioned, or delayed.
            11.5      If a Service becomes, or in Google's reasonable opinion is likely to become, the subject of an
            intellectual property infringement claim, then Google, at its sole option and expense and upon notice
            to Company, may suspend provision of the applicable Service and either: (x) procure the right to
            continue providing the Service as contemplated by the Terms; (y) modify the Service to render it
            non-infringing without adversely affecting use of such Service; or (z) replace the Service with a
            functionally equivalent, non-infringing service. If the above options are not commercially practicable,
            either party may terminate the Order Form(s) for the Services impacted.
            12,      Limitation of Liability.




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            12.1  EXCEPT FOR (A) INDEMNIFICATION AMOUNTS PAYABLE TO THIRD PARTIES UNDER
            THE AGREEMENT AND (B) BREACHES OF SECTION 7 (CONFIDENTIALITY) OF THESE TERMS,
            NEITHER PARTY WILL BE LIABLE UNDER THE AGREEMENT FOR LOST REVENUES, LOSSES,
            OR EXPENSES RELATED TO SUCH LOST REVENUES, OR ANY INDIRECT, SPECIAL,
            INCIDENTAL, CONSEQUENTIAL, EXEMPLARY, OR PUNITIVE DAMAGES, EVEN IF THE PARTY
            KNEW OR SHOULD HAVE KNOWN THAT SUCH DAMAGES WERE POSSIBLE AND EVEN IF
            DIRECT DAMAGES DO NOT SATISFY A REMEDY.
            12.2   EXCEPT FOR (I) INDEMNIFICATION AMOUNTS PAYABLE TO THIRD PARTIES UNDER
            THE AGREEMENT OR (II) AMOUNTS OWED AND PAYABLE UNDER THIS AGREEMENT ,
            NEITHER PARTY WILL BE LIABLE UNDER THE AGREEMENT FOR MORE THAN THE SUM OF
            (A) SERVICE FEES PAID TO SUCH PARTY UNDER THE AGREEMENT AND (B) AD REVENUES
            (IF APPLICABLE) RECEIVED AND RETAINED BY SUCH PARTY, IN EACH CASE, DURING THE 12
            MONTHS BEFORE THE CLAIM ARISES.
            13.      Term; Termination; and Suspension.
            13.1    Term. The term of the Agreement shall be as set out in the Order Form unless earlier
            terminated in accordance with the Agreement.
            13.2     Termination.
                    a.       Either party may terminate an Order Form upon notice with immediate effect if the
            other party is in material breach of these Terms or the applicable Order Form (which includes any
            breach by Company of Sections 3.2(a), 3.2(d) or 3.3 of these Terms):
                             i.       where the breach is incapable of remedy;
                            ii.     where the breach is capable of remedy and the party in breach fails to
                     remedy that breach within 30 days after receiving notice from the other party; or
                             iii.     more than twice even if the previous breaches were remedied.
                    b.         Google may terminate the Agreement immediately upon notice if pornographic
            content that is illegal under U.S. law is displayed on any Target Property.
                   c.      If Google is unable to provide a Service due to any changes in law or regulations,
            Google may terminate the applicable Order Form related to such Service upon notice to Company.
                     d.      Upon the expiration or termination of the Agreement for any reason:
                             i.       all rights and licenses granted by each party will cease immediately; and
                             ii.     if requested, each party will use commercially reasonable efforts to
                     promptly return to the other party, or destroy and certify the destruction of, all Confidential
                     Information (excluding Data) disclosed to it by the other party.
            13.3     Suspension. If Company is in material violation (or if Google reasonably suspects a material
            violation) of these Terms, then Google may, subject to the requirements below, immediately suspend
            or deactivate Company's use of all or any part of the applicable Services. Following any such
            suspension, the parties will use commercially reasonable efforts to discuss options for cure or
            reinstatement of the applicable portion of the affected Service.
            14.      Miscellaneous.
            14.1    Assignment. Neither party may assign any part of the Agreement without the written consent
            of the other, except to an Affiliate where: (a) the assignee has agreed in writing to be bound by the
            terms of the Agreement; (b) the assigning party remains liable for obligations under the Agreement if
            the assignee defaults on them; and (c) the assignor has notified the other party of the assignment.
            Any other attempt to assign is void.
            14.2   Change of Control. If a party experiences a change of control (for example, through a stock
            purchase or sale, merger, by operation of law, or other form of corporate transaction): (i) that party will




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            give written notice to the other party within 30 days after the change of control; and (ii) the other party
            may immediately terminate the Agreement any time between the change of control and 30 days after
            it receives that written notice.
            14.3     Conflicting Terms. If there is a conflict between the Terms and a term of an Order Form, the
            term of the Order Form will govern.
            14.4    Entire Agreement. The Agreement sets out all terms agreed between the parties and
            supersedes all other agreements between the parties relating to its subject matter. In entering into the
            Agreement neither party has relied on, and neither party will have any right or remedy based on, any
            statement, representation or warranty (whether made negligently or innocently), except those
            expressly set out in the Agreement.
            14.5   Force Majeure. Neither party will be liable for failure or delay in performance to the extent
            caused by circumstances beyond its reasonable control.
            14.6  Governing law. ALL CLAIMS ARISING OUT OF OR RELATING TO THE AGREEMENT
            OR ANY RELATED GOOGLE PRODUCTS OR SERVICES WILL BE GOVERNED BY NEW YORK
            LAW, EXCLUDING NEW YORK'S CONFLICT OF LAWS RULES, AND WILL BE LITIGATED
            EXCLUSIVELY IN THE FEDERAL OR STATE COURTS OF NEW YORK COUNTY, NEW YORK,
            USA. THE PARTIES CONSENT TO PERSONAL JURISDICTION AND WAIVE ALL OBJECTIONS
            TO PROPER VENUE IN THOSE COURTS.
            14.7     Notices. All notices of termination or breach must be in English, in writing and addressed to
            the other party's Legal Department. The address for such notices to Google's Legal Department is
            legal-notices@google.com. All other notices must be in English, in writing and addressed to the other
            party's primary contact. Notice will be treated as given on receipt, as verified by written or automated
            receipt or by electronic log (as applicable).
            14.8   No Agency.        The Agreement does not create any agency, partnership, or joint venture
            between the parties.
            14.9    No Waiver. Neither party will be treated as having waived any rights by not exercising (or
            delaying the exercise of) any rights under the Agreement.
            14.1 O No Third-Party Beneficiaries. The Agreement does not confer any benefits on any third
            party unless it expressly states that it does.
            14.11 No reselling unless expressly permitted. Except as expressly set forth in an Order Form,
            Company may not resell any of the Services.
            14.12 Severability. If any term (or part of a term) of the Agreement is invalid, illegal or
            unenforceable, the rest of the Agreement will remain in effect.
            14.13    Subcontractors.
                    a.      Either party may subcontract any of its obligations under the Agreement, without the
            written consent of the other party. Each party is liable for the acts and omissions of its
            Subcontractors.
                     b.     If Company (or its Clients) engage a Subcontractor that is recommended by Google
            or is a Google partner:
                             i.      Company acknowledges and agrees that the products and services
                     provided by such Subcontractor are not provided by Google and Google makes no
                     representations or warranties about such Subcontractor's performance; and
                             ii,      Company is liable for the acts and omissions of such Subcontractor.
            14.14 Approvals. The parties agree that whenever the Agreement calls for written request or
            written approval to be provided by either party, unless otherwise expressly stated that e-mail is not
            acceptable, such request or approval may be provided via e-mail.




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            14.15 Equitable Relief. Nothing in the Agreement will limit a party's ability to seek equitable relief;
            except that Company will not seek, in a proceeding filed during the term or for six months after the
            term, an injunction or an exclusion order of any of the Services or any portion of the Services based
            on patent infringement.
            14.16 Survival. Notwithstanding termination or expiration of the Agreement, any provisions of the
            Agreement that by their nature are intended to survive, will survive termination including, but not
            limited to: Sections 4 (Payments), 5 (Intellectual Property), 7 (Confidentiality), 9 (Disclaimers), 10
            (Beta Features), 11 (Indemnification), 12 (Limitation of Liability), and 14 (Miscellaneous).




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                                                              EXHIBIT II

                  GOOGLE MARKETING PLATFORM ADVERTISING PRODUCTS -SERVICE SPECIFIC TERMS

             By entering into an Order Form for the Google LLC ("Google") Google Marketing Platform Advertising
             Services described in such Order Form (including the Display & Video 360 Service, f/k/a the DoubleClick
             Bid Manager Service (as such term is defined in the Order Form), the Campaign Manager Service f/k/a
             the DoubleClick Campaign Manager Service (as such term is defined in the Order Form), the Search Ads
             360 Service f/k/a the DoubleClick Search Service (as such term is defined in the Order Form), collectively
             the "Google Marketing Platform Adverti sing Services"), Company agrees to the following additional
             terms for the Google Marketing Platform Advertising Services (the "Service Specific Terms").
             Capitalized terms that are undefined in these Service Specific Terms have the meanings set forth in the
             Google Platform Services Terms and Conditions (the "Platform Terms") or the applicable Order Form. To
             the extent there is any conflict or inconsistency between an Order Form , these Service Specifi c Terms,
             and the Platform Terms, the following order of precedence will apply in respect of the Google Marketing
             Platform Advertising Services: (1) the Order Form; (2) the Service Specific Terms; and (3) the Platform
             Terms.
             1.      Service Specific Definitions.
                 a. "Ad Specifications" means the features of an Ad that determine its compatibility with the criteria
             set by a Media Provider with respect to particular Media.
                 b. "Campaign Manager UI" means the Campaign Manager Service user interface.
                 c. "Data Provider'' means a provider of Third-Party Data. Subject to Company's limited right to use
             Third-Party Data under an Order Form, each Data Provider will retain all proprietary rights in and to its
             respective Third-Party Data.
                  d. "Display & Video 360 UI" means the Display & Video 360 Service user interface.
                 e. "Exchange Spend" means the sum of the cost of all purchased Media offered via: (i) open or
             private auctions (i.e., multiple bidders for non-reserved Media); (ii) preferred deals (i.e., first-look options
             and other non-guaranteed deals); and (iii) any other deal type supported in the Display & Video 360
             Service which does not qualify for Non-Exchange Spend.
                f. "Group Spend" means the aggregate Spend of the Company Group (as defined in an Order
             Form).
                 g. "Media" means online advertising inventory made available for purchase to Company via the
             Display & Video 360 Service.
                h. "Media Provider" means an advertising exchange, network, web publisher or other provider of
             Media.
                  i. "Non-Exchange Spend" means the sum of the cost of all purchased Media: (i) offered via API
             integrations; (ii) utilizing TrueView functionality and/or other YouTube formats; (iii) offered via guaranteed
             or reserved deals; and (iv) trafficked via third-party Tags.
                 j. "Spend" means the sum of Company's Exchange Spend and Non-Exchange Spend as reported
             by the Display & Video 360 Service.
                 k. "Third-Party Data" means the cookie-level information of a third party that is made available to
             Company via the Display & Video 360 Service to target its purchases of Media.
                  I. "Third-Party Fees" mean the sum of the cost of all Media, Third-Party Data, and any other
             third-party services which Company utilizes via the Display & Video 360 Service.
             2.       License Grant. Upon Company's execution of an Order Form and acceptance of these Service
             Specific Terms, Google grants to Company the non-exclusive right to access and use the Google
             Marketing Platform Advertising Services subject to the Order Form and all terms incorporated therein.
             3.      Display & Video 360 Service. With respect to the Display & Video 360 Service:
                  a. Company hereby represen ts, warrants, and covenants that:




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                     i.      each of its Ad Specifications and other information entered into the Display & Video 360
                 Service are true and correct in all material respects; and
                      ii.     it will not, and will not assist or knowingly permit any third party to analyze, decompile,
                 track, or otherwise determine the source or location of any Third-Party Data.
                            b. If Company's Order Form for the Display & Video 360 Service includes the Managed
                      Display & Video 360 Service (as defined in the Order Form), during the Term of such Order Form,
                      Company will indicate to Google in advance and in writing (including, if supported, through the
                      Display & Video 360 UI) whether it wishes to manage a particular Ad campaign itself using the
                      Self Service Display & Video 360 Service (as defined in the Order Form) or have Google manage
                      such campaign on Company's behalf using the Managed Display & Video 360 Service. For
                      clarification, (i) Company may not use the Managed Display & Video 360 Service unless
                      approved in advance by Google; and (ii) Google offers the Managed Display & Video 360 Service
                      at its sole discretion.
            4.        Campaign Manager Service. With respect to the Campaign Manager Service:
                 a. Company will remove, or cause the Target Properties to remove, all applicable Tags from the
            Target Properties at the completion of each Ad campaign and upon termination of Company's access to
            the Campaign Manager Service subject to an Order Form (it being understood and agreed that,
            notwithstanding any termination of Company's access to the Campaign Manager Service, Company will
            be liable for all use of Tags until they are removed from the Target Properties).
                b. Use of Dynamic Floodlight may include without limitation the redirecting of requests from a user's
            browser to entities other than Google, Company or the applicable Client. In order for a privacy policy to
            comply with the Platform Terms, it must cover the collection of data through those redirects.
                 c.   If Company elects to use RFP Module, the following terms will apply:
                     i.      The proprietary RFP module (the "RFP Module") is designed to facilitate media planning
                 and buying, including without limitation selection of the Target Properties, management of the request
                 for proposal ("RFP") process with Target Properties, and generation of Insertion Orders and Media
                 Plans. "Media Plan" means the selection of Target Properties where a campaign will be executed.
                 "Insertion Order" means the written contract which governs the terms of placement on a Target
                 Property. The RFP Module is part of the Campaign Manager Service.
            5.        Search Ads 360 Service. With respect to the Search Ads 360 Service:
                 a. Company will remove, or cause the search engine sites to remove, all applicable tracking URLs
            at the completion of each Ad campaign and upon the termination of Company's access to the Search Ads
            360 Service (it being understood and agreed that, notwithstanding any termination of Company's access
            to the Search Ads 360 Service, Company will be liable for all use of tracking URLs until they are removed
            from the search engine sites).
            6.      Google Marketing Platform Advertising Services. With respect to each of the Google
            Marketing Platform Advertising Services:
                 a. Google may restrict, in whole or in part, the use of Tags on Company's behalf in consent-based
            email publications if Google receives "spam" complaints about any of those email publications; provided
            that Google will notify Company promptly following each such restriction.
               b. Company will not, directly or indirectly, allow any third party, other than Affiliate Customers or
            Subcontractors that Company engages to use the Service(s) as contemplated hereunder, to access or
            have information about the user interface of any Service(s).
            7.      Confidentiality. Notwithstanding Section 7 (Confidentiality) of the Platform Terms and Section 8
            (Data) below:
                a. With respect to the Display & Video 360 Service, Google may share Company's Spend data and
            Company's identity (and the identity of any Clients that purchase Media or utilize Third-Party Data) with
            applicable Media Providers and Data Providers solely for reporting and billing purposes.
                 b.   Subject to Section 8 (Data) below, Data is Confidential Information of Company.




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            8.        Data.
                a. As between Company and Google, Company will own all Data and Google will not use such data
            for any purpose including but not limited to the purpose of assisting other Google clients; provided that
            Google may use and disclose such Data solely:
                       i.       as aggregate Service statistics, which will not include personally identifiable information
                  or information that identifies or would reasonably be expected to identify Company, its Affiliates or
                  any of its Clients or Target Properties;
                      ii.     to provide the Services and enforce its rights under this Agreement (it being understood
                  and agreed that Company's non-aggregated data will not be sold, used or disclosed to any third party
                  by Google (except as otherwise expressly permitted by the Agreement) without Company's written
                  consent); and
                     iii.      if and as required by court order, law, or governmental or regulatory agency (after, if
                  permitted, giving reasonable notice to Company and using commercially reasonable efforts to provide
                  Company with the opportunity to seek a protective order or the equivalent (at Company's expense)).
                 b. Google's retrieval and/or provision to Company of event-level data or archived reporting data
            derived from Company's use of Services beyond a period of 3 years may result in additional fees based
            on storage and service costs, but no such fees shall be charged without Company's written agreement
            prior to the retrieval and/or provision of such data.
            9.        Service Level Agreement.
                 a. For the Display & Video 360 Service only: Google will use commercially reasonable efforts to
            ensure that the Display & Video 360 UI is available for Company's use at least 99.5% of the time
            calculated on a calendar monthly basis, it being understood that Display & Video 360 UI "down" time will
            exclude time (i) required for routine system maintenance (it being understood that Google will notify
            Company at least 2 business days prior to any such routine maintenance); and/or (ii) resulting from
            technical malfunctions in the systems of Company or of any Media Provider or Data Provider, or any other
            circumstances beyond Google's reasonable control (including, without limitation, Internet delays, network
            congestion, and ISP malfunctions). In the event that unscheduled down time exceeds 0.5% in any 3
            consecutive months or in any 4 months in any 12 consecutive month period (each, a "Display & Video
            360 UI Downtime Period"), Company will have the one-time right to terminate its contract for the Display
            & Video 360 Service upon 30 days' prior written notice to Google, subject to such notice being received
            by Google within 30 days of the end of the Display & Video 360 UI Downtime Period. The remedy set
            forth in this paragraph is Company's sole remedy for any and all unavailability of the Display & Video 360
            UI.
                 b. For the Campaign Manager Service only: Google will use commercially reasonable efforts to
            ensure that the Campaign Manager Service processes Ad requests at least 99% of the time, calculated
            on a calendar monthly basis as measured by Google from the data center used by Google to serve Ads
            on Company's behalf, it being understood that Ad Delivery Service "down" time (calculated as the
            difference between 100% of time in a calendar month and the actual percentage of time during that month
            that Ad requests are processed) will exclude time resulting from technical malfunctions in the Target
            Properties' systems, or any other circumstances beyond Google's reasonable control (including, without
            limitation, Internet delays, network congestion, and ISP malfunctions). Notwithstanding anything to the
            contrary in the Platform Terms, these Service Specific Terms, or the Order Form, in the event that down
            time exceeds 1% in any month during the Campaign Manager Term, Company will receive a reduction in
            fees, credited to the next month's invoice, calculated by multiplying (i) the Average Impressions Per Hour;
            by (ii) the down time (rounded to the nearest hour); and by (iii) the effective CPM rate charged by Google
            for Ads served by Google during that month. The "Average Impressions Per Hour" is determined by
            dividing the total number of Ads served in the previous month by the total number of hours in that month.
            The remedy set forth above in this paragraph is Company's sole remedy for any and all unavailability of
            the Campaign Manager Service.
            10.       Affiliates.




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                 a. Company's Affiliates may receive Services under the Agreement (i) by entering into an Affiliate
            Adopting Agreement (as defined below); or (ii) if Company uses the Services on behalf of its Affiliates
            listed in Appendix B to this Exhibit II (each an "Affiliate Customer").
                  b. An Affiliate may adopt the terms of an Order Form (which incorporate the Platform Terms and
            these terms by reference) by entering into an Affiliate Adopting Agreement. If an Affiliate enters into an
            Affiliate Adopting Agreement to this Agreement, Company will provide a copy of this Agreement (including
            the applicable Order Form) to such Affiliate. "Affiliate Adopting Agreement" means a written agreement
            that incorporates the Agreement by reference and is entered into by Google (or an Affiliate of Google) and
            an Affiliate of Company, creating a direct relationship between them.
                c. If Company uses the Services on behalf of an Affiliate Customer, Company will be liable for the
            acts and omissions of each such Affiliate Customer in connection with Services provided under the
            Agreement (to the extent any such acts or omissions, if performed by Company, would be a breach of, or
            otherwise give rise to liability under, the Agreement) and Company will pay directly to Google all Service
            Fees and other costs for the Services incurred by such Affiliate Customer.
                  d. If Services are provided to an Affiliate of Company that is organized in Europe, the Middle East,
            or Africa, Google Ireland Limited will be deemed to be the entity that provides such Services. If Services
            are provided to an Affiliate of Company that is organized in North America or in another region outside
            Europe, the Middle East, Africa, Asia, and Oceania, Google LLC will be deemed to be the entity that
            provides such Services. If Services are provided to an Affiliate of Company that is organized in Asia
            (other than China) or Oceania, Google Asia Pacific Pte. Ltd. or its reseller (i) to Affiliates of Company
            organized in Australia, Google Australia Pty Ltd, or (ii) to Affiliates of Company organized in New Zealand,
            Google New Zealand Limited will be the entity that provides such Services. Google will be liable for each
            such entity's acts and omissions in connection with the Services provided. Services will not be provided
            to or utilized by any Affiliate of Company that is organized in China unless such Affiliate enters into an
            Affiliate Adopting Agreement or other agreement with the applicable Google Affiliate.
                 e. If an Affiliate of Company that is party to an Advertising Platform Agreement (or another
            substantially similar agreement) (the "APA") with Google subsequently enters into an Affiliate Adopting
            Agreement to this Agreement, then, as of the "Adopting Effective Date" of that Affiliate Adopting
            Agreement, this Agreement will supersede that Affiliate's APA and all order forms (or another
            substantially similar agreement), schedules, and statements of work to it (as applicable) with respect only
            to the Google Marketing Platform Advertising Services (individually and/or collectively, as applicable).
                  f Company shall not be liable for the acts and omissions of any Affiliate that is (or at the time of
            such acts and/or omissions was) an AAA Affiliate, and in no event shall any AAA Affiliate or Affiliate
            Customer be liable for the acts and omissions of any other AAA Affiliate or Affiliate Customer under this
            Agreement; provided, that an AAA Affiliate or Affiliate Customer shall be responsible for all use of the
            Services through its account hereunder, including to the extent used by another Affiliate Customer or AAA
            Affiliate.




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                                                       Appendix A to Exhibit II
             With respect to the Display & Video 360 Service, the parties agree that the following additional terms shall
             apply:

             Fraudulent Traffic. Google will use commercially reasonable efforts to detect and eliminate Fraudulent
             Traffic from impression, click and action counts reports, includ ing without limitation by including
             appropriate contractual provisions to address Fraudulent Traffic in its agreements with exchanges and
             other inventory sources. Agency will not be responsible for payment of any impressions deemed
             fraudu lent. "Fraudulent Traffic" means ad clicks and impressions or similar billing events that are
             determined by Google to be fraudulent, suspect in quality, or unusable according to Google's advertising
             standards and records, including anything other than natural persons in the normal course of using any
             device, including , without limitation, browsing through online, mobile or any other technology or platform.
             For the avoidance of ambiguity, Fraudulent Traffic includes, without limitation, the inclusion of counting of
             views: (i) by non-human visitors; and (ii) that are not actually capable of being visible to the human eye,
             discernible to human senses, or perceived by a human being.




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                                                       Appendix B to Exhibit II
                                                        Scheduled Affiliates

                                                      Dated as of March 1 2021

             This Appendix B to Exhibit II supersedes any Exhibit to the Advertising Platform Agreement dated prior to
             the date set forth above which governs the same subject matter.

             A.      Affiliates organized in North America or in another region outside of Europe. the Middle East.
             Africa Asia and Oceania•

                  Country                      Affiliate Name

                  United States                BPN Worldwide, Inc.

                  United States                Brand Programming Network LLC

                  Colombia                     Brandconnection SAS.

                  United States                Kinesso, LLC d/b/a Matterkind, a division of Kinesso, LLC

                  United States                Geomentum, Inc.

                  United States                 ID Media, Inc.

                  Chile                         I-Group Comunicacion Publicitaria Ltda

                  Venezuela                     Initiative Media Colombia S.A. Sucursal Venezuela BRANCH

                  United States                 Initiative Media, LLC

                  Argentina. Mexico             IPG Media Brands Communication SA de C.V.

                  Argentina. Chile,             IPG Media Brands S.A.
                      Mexico

                  Uruguay                       IPG Media Brands S.A. BRANCH

                  Colombia                      IPG Mediabrands S.A.

                  Bolivia                       IPG Mediabrands S.A. Sucursal Bolivia BRANCH

                  Ecuador                       IPG Mediabrands S.A. Sucursal Ecuador BRANCH

                  Peru                          IPG Mediabrands S.A. Sucursal Peru BRANCH

                  United States                Magna Global USA, Inc.

                  United States                Media Partnership Corporation

                  Canada                       Mediabrands Worldwide, Inc. - Canad ian BRANCH

                  United States                MediaBrands Worldwide, Inc. dba Ansible




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                  United States                NSA Media, INC

                  Canada                       Orion Trading Canada Inc

                  United States                Orion Trading Worldwide LLC

                  United States                Outdoor Advertising Group

                  United States                Reprise Media, Inc

                  United States                Spring Creek Group, L.L.C.

                  Canada                       True North - Wahlstrom Canada BRANCH

                  Chile                        Universal Mccann Servicos de Medics Ltda

                  Colombia                     Universal Mccann Servicos de Medios Ltda BRANCH

                  United States                Universal Mccann Worldwide

                  United States                Wahlstrom Group LLC

                  United States                WIM Traffic, Inc.

                  United States                Solved Health (part of FCB WORLDWIDE, INC)

                  United States                Universal Mccann USA

                  United States                Universal Mccann NY


             B.      Affiliates organized in Europe (other than Russia) Africa or the Middle East·

                   Country                     •Affiliate Name
                                                                                   • .• •   • .• •   • .• •   . ...   . ...   . ...   . ...   ....
                                                                                                                                              .      ....   ....   • .•   • .•




                   Poland                       Brand Connection Sp. z.o.o.

                   Portugal                     Brand Connection, Actividades Publicitarias, Lda.

                   Netherlands                  Brandconnection B. V.

                   France                       Kinesso France SAS

                   Germany                      Kinesso GmbH & Co. KG

                   Germany                      Cadreon Verwaltungs-GmbH

                   Hungary                      CMS Brand Connection Budapest Kft.

                   Germany                      Creative Media Services GmbH

                   Czech Republic               Czech Media Club, spol. s.r.o.

                   Netherlands                  digilogue B.V.




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                  Hungary                       Fastbridge Hungary Marketing-kommunikacios Ugynokseg Kft.

                  Portugal                      lnciativas de Meios, Actividades Publicitarias, Lda.

                  Germany                       Initiative Group GmbH

                  France                        Initiative International SAS

                  Saudia Arabia,                Initiative Media
                     United Kingdom

                  Netherlands                   Initiative Media B.V.

                  Hungary                       Initiative Media Hungary Kft.

                  United Arab Emirates          Initiative Media Middle East

                  Italy                         Initiative Media Milano S.r.l.

                  Czech Republic                Initiative Media Prague s.r.o.

                  Greece, Romania               Initiative Media S.A.

                  Poland                        Initiative Media Warszawa Sp. z.o.o.

                  Austria                       Initiative Media Werbemittlung GesmbH

                  Austria                       IPG Mediabrands GmbH

                  Denmark                       IUMNS

                  Norway                        IUM AS

                  United Arab Emirates          Magna Global FZ LLC

                  Germany                       Magna Global Germany GmbH

                  Hungary                       Magna Global Hungary Mediaugynokseg Szolgaltato Kft.

                  Poland                        Magna Global Polska Sp. z.o.o.

                  Spain                         Magna Global S.A.

                  Czech Republic                Magna Global s.r.o.

                  Slovakia                      Magna Global Slovakia, s.r.o .

                  Switzerland                   Magna Global Switzerland AG

                  Netherlands                   Magna Global V.O.F.

                  Ireland                       Magna Ireland Media Limited

                  Greece                        Mediabrands Ad vertising SA




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                  Switzerland                   Mediabrands AG

                  Belgium                       Mediabrands Belgium SA

                  United Kingdom                Mediabrands EMEA Limited

                  United Kingdom                Mediabrands International Limited

                  United Kingdom                Mediabrands Limited

                  Ireland                       Mediabrands Limited BRANCH

                  Netherlands                   Mediabrands Netherlands B.V.

                  France                        Mediabrands SAS.

                  Denmark                       MediaPrint ApS

                  Portugal                      Megameios - Publicidade E Meios, A .C .E.

                  Germany                       MGMP Magna Global Media Plus GmbH

                  France                        Orion Trading France SAS.

                  Germany                       Orion Trading GmbH

                  United Kingdom                Orion Trading EMEA Limited

                  Belgium                       Outdoor Services SA

                  Austria                       Panmedia Holding AG

                  Austria                       PanMedia Western Werbeplanung GmbH

                  Sweden                        PMI Initiative/Universal Media AB

                  United Kingdom                Rapport Outdoor Limited

                  Netherlands                   Reprise Media Netherlands B.V.

                  Poland                        Reprise Media Sp. z.o.o.

                  Netherlands                   Traffic4U B.V.

                  Netherlands                   Traffic4U International B.V.

                  Poland                        U2 Media Sp. Z.0.0.

                  Turkey                        Universal / Mccann- Media Planlama ve Dagitim A.S.

                  Portugal                      Universal Mccann Connections, Actividades Publicitarias, Lda.

                  United Kingdom                Universal Mccann EMEA

                  Germany                       Universal Mccann GmbH




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                  Hungary                       Universal Mccann Magyarorszag Reklamugynokseg Kft.

                  United Kingdom                Universal Mccann Manchester

                  Czech Republic                Universal Mccann s.r.o.

                  Poland                        Universal Mccann Sp. z.o.o.

                  Austria                       Universal Mccann Werbeberatungs GmbH

                  Spain                         Universal Mccann , S.A.

                  Greece                        Universal Media Advertising (Hellas) S.A.

                  Netherlands                   Universal Media B.V

                  Ireland                       Universal Media Ireland Limited

                  Qatar                         Universal Media LLC

                  Italy                         Universal-Mccann S.r.l.

                  Austria                       You Two Media GmbH

                  Egypt                         UM Egypt

                  Slovakia                      Universal Mccann Bratislava

                  Austria                       Matterkind Austria


             c.      Affiliates organized in Asia (other than China) or Oceania:

                  Country                      •Affiliate Name
                                                                                     • .• •   • .• •   • .• •   . ...   . ...   . ...   . ...   ....
                                                                                                                                                .      ....   ....   • .•   • .•




                  Australia                     Kinesso Pty Ltd

                  Malaysia                      Fastbridge Malaysia Sdn Bhd

                  Thailand                      I Dissolution Two Limited (In liq)

                  Australia                     Initiative Media Australia Pty Ltd

                  India                         Interactive Avenues Marketing Solutions Private Limited

                  Indonesia                     lnterface.bpn

                  Australia                     Interpublic Australia Pty Limited

                  Thailand                      IPG Advertising (Thailand) Limited

                  Hong Kong                     IPG Mediabrands (HK) Limited

                  Singapore                     IPG Mediabrands (Singapore) Pte. Ltd




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                  Malaysia                      IPG Mediabrands Sdn Bhd

                  Japan                         Mccann Worldgroup Holdings Japan Inc

                  Japan                         Kinesso Japan, Inc.

                  Australia                     Mediabrands Australia Pty Ltd

                  Malaysia                      Mediabrands Global Technology Solutions Sdn . Bhd.

                  India                         Mediabrands India Private Limited

                  Taiwan                        Mediabrands Worldwide, Inc. - Taiwan BRANCH

                  Australia                     Merchant & Partners Australia Pty Ltd

                  Australia                     Orion Trading Australia Pty Ltd

                  Japan                         Orion Trading Japan KK

                  Indonesia                     PT lnpurema Konsultama

                  India                         Reprise Media Media India Private Limited

                  Australia                     Universal Mccann
                                                (a division of Mediabrands Australia Pty Ltd)

                  Korea, Repubilc of            Universal Mccann Inc Korea




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                                        AFFILIATE ADOPTING AGREEMENT
                                    (NON-MEDIABRANDS AFFILIATES, AMERICAS)

            This AFFILIATE ADOPTING AGREEMENT (this "Agreement"), dated as of February 1, 2015 (the
            "Adopting Effective Date"), is between:

            (a)     The Interpublic Group of Companies, Inc. ("IPG"), for and on behalfof each of the entities listed
                    in Exhibit I to this Agreement, with offices as listed in Exhibit I to this Agreement (each a
                    "Company Affiliate"); and

            (b)     DoubleClick, a division of Google Inc., with offices at 76 Ninth Avenue, 4th Floor, New York,
                    New York 10011, U.S.A. ("DoubleClick").

            Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the
            Mediabrands Agreement.

            WHEREAS, DoubleClick and Mediabrands Worldwide, Inc. ("Mediabrands") have entered into that
            certain DoubleClick Advertising Platform Agreement (including any and all Order Forms, schedules or
            addendums thereto), dated as of January 1, 2015, that governs DoubleClick's provision of, and
            Mediabrands' utilization of, the DoubleClick Services (such agreement, the "Mediabrands Agreement");
            and

            WHEREAS, the parties' intent in entering this Agreement is that it constitute separate and independent
            agreements between DoubleClick and each Company Affiliate pursuant to which DoubleClick will provide
            services to each Company Affiliate on substantially the same terms and conditions (except as revised
            pursuant to this Agreement) as the terms and conditions of the Mediabrands Agreement; and

            WHEREAS, IPG is authorized to bind each Company Affiliate to the terms and conditions of this
            Agreement.

            NOW, THEREFORE, in consideration of the foregoing premises and mutual covenants contained herein,
            DoubleClick and IPG hereby agree as follows:

            1.      Affiliate Agreement

                    (a) IPG hereby represents and warrants that each Company Affiliate is an Affiliate (as defined in
                        the Mediabrands Agreement) of Mediabrands, it being understood and agreed that, at such
                        time (if any) as a Company Affiliate ceases to be an Affiliate of Mediabrands, this Agreement
                        shall terminate with respect to such Company Affiliate.

                    (b) Subject to the terms and conditions herein, DoubleClick and IPG, on behalf of each Company
                        Affiliate, hereby enter into this Agreement, under which all the terms and conditions of the
                        Mediabrands Agreement applicable to Adopting Affiliates are incorporated herein by
                        reference, mutatis mutandis, and apply separately and independently to each Company
                        Affiliate, in each case as revised pursuant hereto.

                    (c) IPG will provide a copy of the Mediabrands Agreement to each Company Affiliate, including
                        updates and amendments, from time to time.

            2.      Amendments

                    (a) The provisions of the Mediabrands Agreement, each as applied only to the provision of
                        services by DoubleClick to each Company Affiliate pursuant to the arrangement contemplated
                        hereby, are hereby revised as follows (as so revised, such Mediabrands Agreement as applied
                        separately to each Company Affiliate shall be referred to as the "Company Affiliate
                        Agreement"):




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                      (i) The term "Company" shall refer to the applicable Company Affiliate;
                      (ii) The "Effective Date" of the applicable Company Affiliate Agreement is the Adopting
                            Effective Date;
                      (iii) The "Term" of the applicable Company Affiliate Agreement will commence on the
                            Adopting Effective Date and continue in effect until the earlier of (1) expiration or earlier
                            termination of the Mediabrands Agreement or (2) such Company Affiliate ceasing to be a
                            Mediabrands Affiliate;
                      (iv) The contact and address information for each Company Affiliate is as set forth on Exhibit
                            I hereto; and
                      (v) All fees under such Company Affiliate Agreement shall be paid in the currency specified
                            in Exhibit I for such Company Affiliate.

                  (b) Each amendment, supplement or other modification to, or renewal of, the Mediabrands
                      Agreement (each, a "Mediabrands Modification") after the date hereof shall be incorporated
                      into, and shall amend, supplement, modify or renew, the corresponding Company Affiliate
                      Agreement unless DoubleClick and such Company Affiliate (or IPG on such Company
                      Affiliates' behalf) agree in writing not to incorporate such Mediabrands Modification into,
                      and not to amend, supplement, modify or renew, such Company Affiliate Agreement.

            3.    General

                  (a) DoubleClick and IPG, on behalf of each Company Affiliate, hereby ratify and agree to the
                      terms and conditions of the Company Affiliate Agreement (i.e., the terms and conditions of
                      the Mediabrands Agreement applicable to Adopting Affiliates, as incorporated herein, mutatis
                      mutandis, and amended hereby).

                  (b) Each Company Affiliate Agreement constitutes the entire agreement between DoubleClick
                      and such Company Affiliate with respect to the subject matter hereof and supersedes all prior
                      understandings, representations and agreements, whether written or oral, between
                      DoubleClick and Company Affiliate with respect to such subject matter.

                  (c) This Agreement may be executed in one or more counterparts, each of which shall be deemed
                      an original and all of which together shall constitute one and the same agreement. Signed
                      facsimile copies of this Agreement will legally bind the parties to the same extent as original
                      documents.

                  ( d) IPG hereby represents and warrants that it has, and will have throughout the term of the
                       Mediabrands Agreement and this Agreement (whichever is later), all necessary rights and
                       authority to enter this Agreement on behalf of each Company Affiliate and incorporate into
                       each Company Affiliate Agreement any change, revision, amendment or addition to the
                       Mediabrands Agreement pursuant to Section 2(b). DoubleClick acknowledges that IPG is
                       entering into this Agreement solely for the benefit of each Company Affiliate, and except as
                       expressly provided in Sections 3(e) and 3(f) below, IPG shall have no liability or performance
                       obligations under this Agreement or any Company Affiliate Agreement, and DoubleClick will
                       hold each Company Affiliate solely liable. Any breach of this Agreement by a Company
                       Affiliate will not constitute a breach by IPG or any other Company Affiliate.

                  (e) IPG will indemnify DoubleClick and DoubleClick's Affiliates against all damages, liabilities
                      and costs (including settlement costs and reasonable legal fees and disbursements) necessarily
                      incurred by DoubleClick or any of its Affiliates arising from a third party claim or allegation
                      that IPG lacked the authority to and/or failed to bind a Company Affiliate to the terms of this
                      Agreement.

                  (f) Without limiting any other duties and obligations under this Agreement or the Mediabrands
                      Agreement, to the extent that IPG has failed to bind a Company Affiliate, the applicable




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                            Company Affiliate Agreement will immediately terminate and IPG will be fully and solely
                            liable for the acts and omissions of such Company Affiliate under the applicable Company
                            Affiliate Agreement prior to the date of such termination (for avoidance of doubt, IPG will be
                            fully and solely liable for any duties and obligations that survive such termination of the
                            applicable Company Affiliate Agreement).

            IN WITNESS WHEREOF, each of the parties hereto has caused this Affiliate Adopting Agreement to be
            executed by its duly authorized officer as of the date first above written.

            DOUBLECLICK, a division of Google Inc.                      The Interpublic Group of Companies, Inc., on
                                                                        behal               ny Affiliate

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                                                                     EXHIBIT I
                                                                  Company Affiliates


                                                              Dated as offeburary t , 2015




                                                               10 Bay Street Suite 1000
            Canada
                            Maclaren McCann
                                                     CAD
                                                               Toronto, ON                       ii Peter Vaz (Peter.vaz@maclaren.com)
                            Canada Inc                         M5J 2S3
                                                               Canada                            I
                                                                                                 I
                            Campbell Ewald                     2000 Brush Street Suite 601       !
            United States   Company d/b/a Lowe       USO       Detroit. Ml 48228                 IPam Kisel (Pam.Klsel@lowe-ce.com)
                            Campbell Ewald                                                       I
                                                               110 N 5th Street                  i Brandon Miller
            United States   Carmlchael Lynch, Inc.   USO                                           (Brandon.miller@CLYNCH.com)
                                                               Minneapolis, MN 55403

                                                                                                     Leah Gellis (lgellis@cmgrp.com)
            United States   CMGRP, Inc. d/b/a        USO       8-W 909 3RDAVE FL 15                  Damien LaManna
                            Weber Shandwlck                    New Yori<, NY 10022
                                                                                                     (dlamanna@webershandwick.com)
                                                               510 Marquette Ave.
            United States   Compass Point Media      USO       12th Floor                            Andi Felix (odigital@mithu_n.coml
                                                               Minneapolis, MN 55402
                                                               5454 Beethoven St                     Tina Teodorescu
            United States   Deutsch LA, Inc.         USO       Los Angeles, CA 90066                 (tina.teodorescu@deutschinc.coml

                            Mccann Relationship                105 Carnegie Center, Princeton,
            United States   Marketing dba            USO                                             Debbie Trink
                                                               NJ08540                               (Debbie. Trlnk@mrm-mccann.com)
                            MRM//McCann

                                                               53 State St.                        Stacey Shepatin (~a~:,:.§.t!eps!tin@!JhQ!,.coml
            United States   Hill Holliday LLC        USO       Boston, MA 02109                  . Kate Thompson (kate.thompson@hhcc.com)

            United States   HUGE, LLC                USO       45 Main SL Suite 220, Brooklyn,       Michelle Burnham (mbumham@hugeinc.com)
                                                               NY, 11201
                                                               60 E South Temple
            United States   MRM Mccann                         Ste 1400                              Stephanie Mace
                                                     USO
                                                               Salt Lake City, Utah 8411 1           (Ste11hanie.Mace®mrm-mccann.com)

                            Mullen Advertising, INC. USO       PO Box 5627, Winston Salem,
            United States                                      NC27113                               Dominic Forte (emotyl@mediahubmullen.com)

                            RIGA Media Group, Inc USO          350W39Th St                           Liz Hart (mediabilling@rga.com)
            United States                                      New York, NY 10018

                            Fltzgerald & Co,                   3333 Piedmont Road, Suite 1100,
            United States                            laJSE)
                                                               Atlanta, GA 30305                     Jessica Fergen (Jessica.Fergen@fltzco.com)

                                                               One Shockoe Plaza                     Lorri Riddle
            United States   The Martin Agency        USO       Richmond, VA 23219                    (mathias.veremakis@martinagency.com)




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